                Case 22-11068-JTD      Doc 12849      Filed 04/26/24     Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                        )       Chapter 11
                                              )
FTX TRADING LTD., et al.,                     )       Case No. 22-11068 (JTD)
                                              )       (Jointly Administered)
                           Debtors.           )
                                              )       Re: D.I. 11626, 12691, 12692 & 12744


                      ORDER REGARDING MOTION TO SHORTEN
                    AND MOTION TO EXTEND OBJECTION DEADLINE

         FTX Trading Ltd. and its affiliates (“Debtors”) filed a Motion of Debtors for Entry of an

Order (I) Authorizing and Approving Entry Into, and Performance Under, the Collateral Claim

Settlement Agreement, the Inter-Debtor Restructuring Agreement and the Restructuring Payment

Agreement and (II) Granting Related Relief (the “Restructuring Motion”). 1 Rather than filing

any objection to the Restructuring Motion, party-in-interest Daniel Friedberg filed (1) a Motion

for an Order Extending Objection Deadline and Establishing Discovery Schedule 2 and a related

(2) Motion to Shorten Notice and Objection Periods for his Motion to Extend (collectively, the

“Motions”). 3

         Upon consideration of these Motions, IT IS HEREBY ORDERED that:

         1.      The Motion to Shorten is denied.

         2.      The Motion for an Order Extending Objection Deadline and Establishing

         Discovery Schedule is granted in part and denied in part.

         3.      Mr. Friedberg must file any objection he may have to the Restructuring Motion by

         April 30, 2024.



1
  D.I. 11626.
2
  D.I. 12691.
3
  D.I. 12692.
           Case 22-11068-JTD         Doc 12849     Filed 04/26/24     Page 2 of 2




      4.     Mr. Friedberg must refrain from seeking discovery until after he files an objection

      to the Restructuring Motion.




Date: April 26, 2024                              ____________________________________
                                                  JOHN T. DORSEY, U.S.B.J.




                                              2
